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                           UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                             BOWLING GREEN DIVISION
                       CRIMINAL ACTION NO. 1:15-CR-00004-GNS-1


 UNITED STATES OF AMERICA                                                          PLAINTIFF


 v.


 JASON BORDEN                                                                   DEFENDANT



                         MEMORANDUM OPINION AND ORDER

        This matter is before the Court on Defendant Jason Borden’s Prisoner Application to

 Proceed Without Prepayment of Fees and Affidavit. (Def.’s Prisoner Appl. to Proceed Without

 Prepayment of Fees and Aff., DN 149 [hereinafter Def.’s Mot.]). For the reasons stated herein,

 the motion is DENIED.

                                   I.     BACKGROUND

        On February 20, 2015, the Court appointed Assistant Federal Defender Patrick Bouldin to

 represent Defendant Jason Borden (“Borden”). On September 10, 2015, Borden filed the first of

 several pro se motions. (DN 121, 122, 128, 129, 130, 132, 137). On September 11, 2015, the

 Court appointed CJA Panel Attorney Steve Lamb (“Lamb”) as Borden’s new counsel. (Order,

 DN 120). Following notification from Lamb that he was unable to serve as Borden’s attorney,

 the Court appointed Cullen Gault as Borden’s new counsel. (Order, DN 124). On October 26,

 2015, the Court struck Borden’s pro se motions from the record, noting that he has appointed

 counsel and that appointed counsel “is permitted to refile any of those motions on Defendant’s

 behalf.” (Order, DN 138).
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        On December 22, 2015, Borden filed a notice that he would appeal the Court’s October

 26, 2015 Order. (Def.’s Mot. for Notice of Appeal “Document 138”, DN 146). The next day,

 Deputy Clerk C. Russell mailed Borden a Notice of Deficiency, notifying him that he must either

 pay the $505.00 filing fee in full or file a motion to proceed in forma pauperis. (Notice of

 Deficiency, DN 147). On January 25, 2016, Borden filed the instant motion.

                                      II.    DISCUSSION

        The Court may allow an indigent defendant to proceed in forma pauperis, i.e., without

 prepayment of fees, provided that such person provide an affidavit disclosing his or her assets

 with a statement that the person is unable to pay the fees. 28 U.S.C. § 1915(a)(1). In order to

 proceed in forma pauperis on appeal, the affidavit must also contain a statement of the issues

 “that the party intends to present on appeal.” Fed. R. App. P. 24(a)(1)(c). Under this additional

 requirement, the Court must also ascertain the merits of the appeal. Callihan v. Schneider, 178

 F.3d 800, 803 (6th Cir. 1999).

        In this case, Borden has not included in his application a statement of the issues he

 intends to pursue on appeal. (Def.’s Mot.). Accordingly, he is not in compliance with Federal

 Rule of Appellate Procedure 24, and his motion must be denied.

                                     III.   CONCLUSION

        For the foregoing reasons, IT IS HEREBY ORDERED that Borden’s Prisoner

 Application to Proceed Without Prepayment of Fees and Affidavit (DN 149) is DENIED.

        Borden must either pay the $505.00 appellate filing fee to the Clerk of the District

 Court within 30 days of entry of this Order or file a motion to proceed in forma pauperis in

 the United States Court of Appeals for the Sixth Circuit within 30 days after service of this

 Order in accordance with Fed. R. App. P. 24(a)(5). See Kincade v. Sparkman, 117 F.3d 949,



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 952 (6th Cir. 1997). Should Borden choose to pay the full $505.00 appellate filing fee rather

 than file a motion to proceed on appeal in forma pauperis in the United States Court of Appeals

 for the Sixth Circuit, payment must be made payable to Clerk, U.S. District Court and sent to

 the following address:

                                    United States District Court
                                   Western District of Kentucky
                                   106 Gene Snyder Courthouse
                                       601 West Broadway
                                      Louisville, KY 40202

        Failure to pay the $505.00 filing fee or to file an application to proceed on appeal in

 forma pauperis with the United States Court of Appeals for the Sixth Circuit within 30 days may

 result in dismissal of the appeal. A copy of this Order is being sent to the United States Court of

 Appeals for the Sixth Circuit. See Fed. R. App. P. 24(a)(4).




                                                            Greg N. Stivers, Judge
                                                          United States District Court
                                                                    February 4, 2016




 cc:    counsel of record
        Jason Borden pro se
        Clerk, U.S. Court of Appeals for the Sixth Circuit




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